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      In The United States Court of Federal Claims
                                          No. 06-101C

                                    (Filed: October 7, 2011)
                                           __________
JAY CASHMAN, INC.,

                      Plaintiff,

      v.

THE UNITED STATES,

                      Defendant

                                           __________

                                            ORDER
                                           __________

         On October 6, 2011, defendant filed its post-trial reply brief. This court’s order of July
15, 2011, specified that the reply briefs shall not exceed 25 pages in length. The court hereby
strikes the post-trial reply as exceeds the page limit. Pursuant to RCFC 5.4(b), leave is necessary
to exceed the page limit.

       IT IS SO ORDERED.




                                                             s/Francis M. Allegra
                                                             Francis M. Allegra
                                                             Judge
